Case 1:21-cr-00137-GBD Document 20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
-v. .
RICHARD SCHIRRIPA,
Defendant. :
ee eee eee x
COUNT ONE

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INFORMATION

21 Cr.

21 CRIM

 

{False Statements to a Federal Agent)

The United States Attorney charges:

i, On or about both January 31,

2020, in the Southern District of New

the defendant, in a matter within ¢t

executive branch of the Government

willfully and knowingly, falsified,

trick, scheme, and device a material

materially false, fictitious, and

representation, to wit, on each occa

represented to the Drug Enforcement Administration

New York, New York, that as part of

SCHIRRIPA’s pharmacy,

concealed,

fraudulent

he had transferred to others,

2020 and February 11,

York, RICHARD SCHIRRIPA,

he jurisdiction of the

of the United States,

and covered up by

fact, and did make a

statement and

sion, SCHIRRIPA falsely

(“DEA”), in

the recent closure of

sold, or

destroyed all controlled substances, when in truth and fact,

SCHIRRIPA remained in possession of

thousands of controlled

 
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substance pills/patches, including, among other substances,
fentanyl, oxycodone, oxymorphone, morphine sulfate, methadone,
hydromorphone, dextroamphetamine, concerta, clonazepam, nucynta,

vyvanse, and zolpidem.

(Title 18, United States Code, Section 1001{a).)

/s/
AUDREY STRAUSS
United States Attorney

 
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Form No, USA-33s-274 (Ed, 9-25-58)

 

UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA

Vv.

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INFORMATION

21 Cr.

(18 U.S.C. § 1001(a).)

AUDREY STRAUSS
United States Attorney.

 

 

 
